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Exhibit A

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MATC|-||NG SURFACE BOX

 

RECESSED MTD.
2 GANG SW|TCHBOX

  
 
  

F|_UXH COVERPLATE FOR
2 GANG SW|TCHBOX

SURFACE MTD. DEV|CE MANUA|_ PULL STAT|ON

 

FLUS|-| MTD. DEV|CE

PULL STAT|ON MOUNT|NG DETA|L

SCALE: N.T.S.

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/-OU`|'|_ET BOX

//////| |////// //////| |//////

 

 

/_PENDANT MTD.
LENGTH AS REQU|RED.

 

 

 

<§a 1 0

PENDANT DOUBLE PENDANT MTD.
C|_USTER MTD.

 

 

 

NOTE:

 

1. VER|FY EXACT MOUNT|NG HE|GHT W|TH
ARCH|`|'ECT PR|OR TO |NSTA|_LAT|ON.

2. COLOR SELECTED BY ARCH|TECT.

3. PROV|DE REMOTE BALLAST.

4. PROV|DE A|_L MOUNT|NG HARDWARE
AS NECESSARY.

POOL LlGHTlNG MTD. DETA|L

SCALE: N.T.S.

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SPR| N KLER HO)|ASTWAY HO|STWAY

  

 

 

 

 

 

 

 

 

 

 

 

 

sMoKE
EOL ® HEAD DETEcToR DETEcToR
RECALL To ALTERNATE LEvEL '
_
ELEvAToR l_oBBY
cR RECALL To DES|GNATED LEvEL SM°KE DETECT°R
ToP oF
ELEvAToR sHAFT
ANNuNclAnoN AT coNTRoL uNlT
AND REQulRED REMoTE
ELEvAToR Powl-:R sHuTDowN
uPPl-:R Ll-:vl-:L
=' El_l-:vAToR l_oBBY
sMoKE DETEcToR
AT ALT. Ll-:vl-:L
ELEvAToR
HolsTwAYs
sPRlNKl_l-:R MAcHlNE RM MAcHlNl-: RM
HEAD HEA
DETEcToR DETEcToR ALT. LEvEL (APPRovl-:D BY AHJ)
_
“ § _ El_l-:vAToR l_oBBY
g sMoKl-: Dl-:Tl-:cToR
AT DEslGNATED LEvEL
Powl-:R
suPEvasoRY

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

§§
/_|-_»v\:|~:|_ ,/\, ELEvAToR
ELEVATOR coNTRoLLl-:R_, ElEE\\/T PlT §lM¢-;O\{&Epn
MAcHlNl-: RM. ’ DETEcToR DETEcToR MAlN (DES|GNATl-:D Ll-:vl-:L)
_
sHuNT TRlP z g
dol cchulT BREAKl-:R

 

b
5

 

1. HEAT DETEcToR sHALL BE PLAcl-:D wlTHlN W/'-OCKAB'-E COVER
zft 0F sPRlNKLER HEAD.

2. HEAT DETECTOR SHALL HAVE BOTH A LOWER E|_EVATOR p|T
TEMP. RAnNG AND A Lowl-:R REsPoNsl-: TlMl-:
lNDl-:x. (lel-:D 135'F, 40 ft oR HlGHl-:R LlsTl-:D
sPAclNG)

3. ELEvAToR sHuTDouN sHALL coMPLY wlTH
ANsl/Ale-: A17.1-1998, RuLl-: 102.2(0).

ELEVATOR RECALL DETA|L

SCALE: N.T.S.

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MA|N SERV|CE

 

 

GROUND CONDUCTOR

 
   
     

JMLWNG STEEL WATER MAH¢ GRouNmNG

STRAP

f
/\

WATER METER SEE WATER MAw¢
GROUND DETAL

/_NEU`|'RAL BUS

MA|N SERV|CE
GROUND BUS

 

 

 

 

 

.|
: / X\i
A \_ SEE BU|LD|NG STEEL

“\\ GROUND DETAm

GROUND|NG ELECTRODE CONDUCTOR
PER NEC TABLE 250-66.

 

 

 

 

 

 

 

   

   

1#6 |N 3/4" C.

\ GROUND CONDUCTOR

GROUND ROD
3/4" D|A. X10’-O" |_ONG

MA|N SERV|CE GROUND|NG DETA|L

SCALE: N.T.S.

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DR|NK|NG FOUNTA|N DR|NK|NG FOUNTA|N
2 /\ /\

 

 

7

 

 

 

 

 

 

 

36” MAX.

 

 

 

  

 

18”AFF
18"AFF

120V 20A
DUPLEX RECEP.

 

 

 

 

 

 

9” M|N.

 

A.F.F A.F.F

 

 

ELECTR|C WATER COOLER

ELECTR|CAL WATER COOLER OUTLET DETA|L

SCALE: N.TS.

 

 

 

 

 

 

 

 

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_l 9 5
O
5 § m
3 3 L\_|
0: O ';:
5 95 z EXoTHERMlc wl-:l_D - TYP|CAL(CADWELD)
#5,3/4"0. ' 'J "
3/0.1-1/4"€- v v GRouND BUS - 051
0 0 0 8”)<1/2”><2’ coPPER Bus, wAl_l_-BRACKET w/ lSOl_ATORS
MDP
MAlN MDP1 MDP2
® 2000/3 FusE
2000 AMPERl-:, 65000Alc, 277/480 vol_T, 3 PHASE, 4 wlRl-:, GROUND Bus
2000/3 AF /_
, ®| ®| ®| ®| ®| ®| @>| ®| @| .| @| ®|
3 80¢3AT 3 300 3AT 3 300 3AT 3 300 3AT 3 400 3AT 3 400 3AT 3 600 3AT 3 40;3AT 70;3AT ) 50¢3AT 3 30;3AT 3 50¢3AT 3 200 3AT 3 400 3AT 3 225 3AT 3 100;3AT 3 500 3AT 3 60¢3AT
100/3AF 400/3AF 400/3AF 400/3AF 400/3AF 400/3AF 600/3AF 50/3AF @ § 100/3AF 50/3AF 30/3AF 50/3AF 200/3AF 400/3AF 400/3AF 100/3AF 500/3AF 50/3AF
:5
=7_ 3#4,#100,1-1/4"0. n
® 7_2 sETS 4#350, 100A/3p <7_4-4/0,#40,2-1/2”0. <7_ 3#4/0,#40.,2-1/2 c. <7_2 sETS 4#500, =7_ 4#4,1#40
#10., 3”0. lijJ FusE @ #30., 3_1/2”0. _1 1/4”0
|§| 70A
,, =,_ 3#4,#100,1-1 /4”0.
y <7_6#4,#8@,2 C. ED SPD
|vFD|
/@/ B
ELEvAToR v LL 150kvA,3¢
J P:450v
TO 001 /_ W'T] s:120/205v
-3/0,1”0
=,-2 sETS 4#350,#10.,3”0.
////_. LlMlTS oF swchHBoARD 1R0P2
1LP1 ` _ ` ` _ _
//// _;§38/§2§
m 500A, 120/205 vol_T, 3 PH, 4 wlRl-:, le-:, 22000Alc
' @F ®? ®? f
3 225 3AT )225 3AT 3 100 3AT 400A SPAcl-:
<,_ 3#4’#10@_,1_1/4"@_ 400/3AF 400/3AF 100/3AF
v 45kvA,3¢ 1 1 1
LL P:480v
T0 051 jj WT] S:120/205v
3/0,1"0.
LlMlTS 0F DlsTRlEzuTloN PANEL 1DP2 c,_ 4#2/0,#6@_,2»€_
600A, 277/450 vol_T, 3 PH, 4 wlRl-:, le-:, 42000Alc
j ? g 1EM0P1
.?) 200¢3AT @?>50;3AT ®?)50;3AT ®?> 2553/41 ® 3 100 3AT ® 3 50 3AT @?) 225;3AT ®
200/5AF 60/5AF 60/3AF 50/3AF 100/3AF 100/3AF 400/3AF 100A, 277/450 voLT, 3 PH, 4 wlRE, WYE, 42000Alc
3#10,#100., 4#3,#8@,1-1/2”0._=: 3#4,#1,96., 3#4/0,#40., .|) 20 3 AT @l) 20 3 AT ®l> 20 3 AT @l) 20 3 AT @l) 30 3 AT l 60A sPAcE
3#3/0,#50.,2”0.-<7 3#5,#100.,1”0.-<= 3#5,#100.,1”0.-<= 3/4"0._== 1-1/4 C._w 2_1/2"0__== | 100 3 AF | 100 3 AF | 100 3 AF ` 100 3 AF 100 3 AF
vFD vFD vFD vFD vFD vFD
,_4#8,#100.,3/4”0.
RT-1 HWP_1A HwP_1B ch-1 CP-1 CH_2
5 12,1 2”c.
1EMDP2 # /
//,
EMF
400A, 277/480 vol_T, 3 PH, 4 wlRl-:, wYE, 42000A10 PROleE PULL Box, ///,_._»TO E><TER|OR
coNDulT AND WlRlNG EMERGENCY

 

 

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> 3_§§ § §§

@l

®I 0:4>| ®|
> 3_§§ § §§ |) #_§§ § §§ ) %§§O§A§

SPARE

@|

@l

®l

®l

.| 200A SPACE

 

 

§

AHU-1

 

4#3/0,#50.,2”0._<

 

 

 

 

\J \J

 

 

 

 

 

 

 

 

 

4-600MCM,#ISG,3-1/2”C.

 

4#500,#30.,3_1 /2”0._<,

GENERATOR G1

L|M|TS OF D|STR|BUT|ON PANEL 1EMGP1

AS REQU|RED TO
RELOCATE PANELBOARD

 

 

.? 3 80 LSAT

4OOA, 277/480 VOLT, 5 PH, 4 W|RE, WYE, 42000A|C

@F

?
3 4OOL3AT ® 3

 

 

50[3AT ®?ZOOA SPACE

 

 

LlGHTlNG (ccT 2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ |Y| N 05 MTS702
<,_3#5,2#10,3/4”0. =,_3#6,2#8,1 1/4”0. <,_3#3,2#8,1 1/4”c. "\’ 400A,3P 100/3AF 400/3AF 60/3AF
AHu-3 AHu-2
4#3,#50.,1-1 /2”0. w
ATS700 N 05
100A,3P 0\0
4#3,#50.,1-1/2”0. _<,
LlMlTs 0F DlsTRlauTloN PANEL 1DP1
600A, 277/450 vol_T, 3 PH, 4 wlRE, le-:, 42000Alc
.?) 200¢3AT @?>350;3AT ®?) 50¢3AT ®?> 50;3AT ® 3 100 3AT ® sPAcl-:
200/3AF 400/3AF 50/3AF 60/3AF 100/3AF
3#8,#100.,3/4”0.-<= ==_ 3#4,#10@-,1_1/4”€-
, =,_ 3#500,#40.,3”0. ,. ,,
<,-3#6,#100.,1 c. <,-4#3,#80.,1-1/2 c. ATS702 N
oE .
12L215kVA 3¢ SOA,`-§P 0\) LEGEND.
v Ll» p;480\/' VFD //, ” EXISTING To REMAIN
TO 931 :F_/ mm S:‘|20/208V @ )/P/P1 <7_ 5#8»#10@-,5/4 C- NEW
3/0,1”(;_ AUH_4 3#8,#10@.,3/4"(:.
v _;3;3225_¢1 PRolel-: cusToM Bun_T SwchHBoARD. NEW SwchHBoARD
P.480§, SHALL BE cusToM BL)H_T T0 AccEPT E)<lsTlNG FEED FROM
To 051 31120/208\/ uTll_lTY TRANSFORMER AND SUPPLY E)<lsTlNe 1N SLAB
' Fl-:EDERS. ELECTRchL coNTRAcToR SHALL CooRDlNATl-:
=,_ 2 sl-;Ts 4#600,#1/0<;,,3_1/2”0_ 3/0.1 C. 4#3,#80.,1-1/2”0. A|_L EX|ST|NG FEEDERS wlTH SwlTCHBoARD MANUFACTURER.
1RP-702-1 /
1RDP1 1EMDP1 1EMDP2 1RDP2 1EMGP1 MDPZ MDP'| MA|N
500;3AT
® BO/O<MF 800A, 120/205 vol_T, 3 PH, 4 wlRl-:, le-:, 22000Alc §
/// @? @? ®? ®? ®? ®? @>? ®? @T O=°
1LP2 ) 200;3AT )200;3AT 3 200;3AT 3 200;3AT 3 200;3AT 3 200;3AT ) 200;3AT 3 200;3AT 200A SPAcl-:
///, 200 /3AF 200 /3AF 200 /3AF 200 /3AF 200 /3AF 200 /3AF 200 /3AF 200 /3AF g
/
h _ __-_____-___J 1111 0
4#5/0,#6@.,2"0. \J \J \/ \/ \/
|_T_\ UUUU UUUUUUUUUUUU UUUUUJUUUUUJ /
MDP
PROlel-: NEW
PAD
1RP2A 1RP20 1RP3 1RP4 2RP1 2RP2 2RP3 2RP4

ELECTR|CAL ONE LlNE D|AGRAM 3

SCALE: N.T.S.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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RooF RooF
3EMP1 3EMP
702
RPJ RPK RPA RPF RPE1 RPF RPl-l RPA RPD RPK RPJ MA0_1 ERV_1 ERV_2 ERV_3 EF_1 RPK RPD RPA RPl-l RPF RPF RPF RPG RPA RPD RPK
<7-4#3,1#50.,
1-1/2 C- =7-4#3,1#50.,
=7-3#2,1#60., =7-3#2,1#60., =7-3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60_, =7-3#2,1#60., c7-3,1,12,1,1160., =7-3#2,1#60., 1-1/2 C- 3#5,1#100., 3#250,1#40. 3#1/0,1#60., 3#2/0,1#60. 3#12,1#120., 3#2,1#60., <7_3#2,1#60., <7_3#2,1#60., <7_3#2,1#60., <7_3#2,1#60., <7_3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60.,
L|M|TS 0F D|STR|BUT|0N PANEL 3N001 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 3/4 c. 2_1/2 c. 2 c. 2 c. 3/4 c L|M|TS 0F D|STR|BUT|ON PANEL 33001 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c. 1_1/4 c.
ll ll ll ll ll ll ll ll ll ll ll
sPAcE 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 60/3AF 400/3AF 200/3AF 200/3AF 30/3AF sPAcE SPAcE 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF
sPAcl-: )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )45/3AT 250/3AT )150/3AT )175/3AT )15/3AT SPAcl-: )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT
0>1 @1 <§>1 <§>1 @1 ©1 ®101 <§>1 @>1 ®1 @1 0>1 @ <§>1 <§>1 @1 <§>1 0>1 @1 @1 <§>1 @1 @1 ®101 <§>1 @>1 ®1 @1
500 AMPERE, 120/205 voLT, 3 PHASE, 4 wlRE, GROUND BUS, 651< Alc 600 AMPERE, 120/205 voLT, 3 PHASE, 4 wlRE, GROUND BUS, 221< Alc 500 AMPERE, 120/205 v0LT, 3 PHASE. 4 wlRE, GRouND Bus, 651< Alc
N N LlMlTs oF DlsTRlaunoN PANEL 30P1 1_1 N
3RD Fl_ooR 6 6 '_' G 3RD Fl_ooR
<7_(2) sl-:TS - 4#600,1#1/00.,3-1/2”0.
To PANEL
4\ 25|_RP'| TO MC SW|TCH
<7-(2) sETs _ 4#600,1#1/00.,3_1/2"0.
RPJ RPB1 RPA RPF RPE RPF RPE1 RPl-l RPA RPD RPB RPC RPC _2NLRP1 zsLRP RPB1 RPD RPA RPG RPF RPF RPA RPF RPE RPH RPA RPD RPB RPC
<7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60., 3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., 5#2»1#5@-;, 3#2,1#60., 3#2,1#60., 3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60., <7-3#2,1#60.,
L|M|TS 0F D|STR|BUT|ON PANEL 2N001 1_1/4”<:. 1_1/4”<:. 1_1/4”<:. 1_1/4”<:. 1_1/4”<:. 1_1/4”<:. 1_1/4”<:. 1_1/4”<:. 1_1/4”0. 1_1/4”0. 1_1/4”0. 1_1/4”0. 1_1/4”0. L|M|TS 0F D|STR|BUT|ON PANEL 25001 1_1/4”0. 1_1/4”0. 1_1/4”0. 1_1/4”0. 1_1/4 C- 1_1/4”c. 1_1/4”c. 1_1/4"c. 1_1/4"c. 1_1/4”0. 1_1/4”0. 1_1/4”0. 1_1/4”0. 1_1/4”0.
T l ll ll ll ll ll ll ll ll T ll ll ll ll ll ll ll ll ll ll
sPAcl-: 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF sPAcl-: 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF 200/2AF
) )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT ) )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT )110/2AT
0>1 @1 <§>1 <§>1 <3>1 @1 101 101 1 @1 @1 @1 0>1 @1 1 @1 <§>1 @1 ®101 <§>101 ®1 1 @1 @1 1
500 AMPERE, 120/205 voLT, 3 PHASE, 4 wlRE, GROUND BuS, 651< Alc 500 AMPERE, 120/205 voLT, 3 PHASE, 4 wlRE, GRouND aus, 651< Alc BATT5RY CHARG5R &
Bl_ocK HEATER (To 1EMP1)
/
MASTER ELECTRchl_ |_| N |_| N ,,
sHuT_DowN BUTTON. 0 G <,-3#10,1#100_3/4 c
cooRDlNATE E><AcT LocAT|oN 2ND FLOOR 2ND FLooR
AND REQU|REM§NTS wlTH coNclERGE
BATAle FlRE EPARTMENT_ :|
E\_ \ SEE SHEET sEE sHEET \ l
\ 50602 FoR 50601 FoR \
coNTlNuATloN 00NT|NUAT|0N l TO OWNERS
SEE sHEET sEE sHEET _» PAG|NG
METER ZND & \ 50602 FoR 50601 FOR \ CA%{NTU sYsTEM
WA M 350 cORR/ coNTlNuATloN coNTlNuATloN CTZ
_ _ ,, FLooR LOBBY To PANEL
METER <7-(2) sETs 4#600,1#1/00.,3 1/2 c. , l
WB ® M° ”‘° \ 1SLP1 \ sEl-: sHEl-:T SEE SHEET \ TO MC SW'TCH GENERATOR 91
\ 50602 FoR 50601 FoR . 500KvA(400Kw)
uTll_lTY PAD-MOLJNT uTll_lTY PAD-MOUNT <7_(2) SETS _ 4#6001#1/00 3_1/2..0 CONT|NUAT|ON CONT|NUAT|ON 1EMP uTll_lTY PAD-MOUNT 120/205v, 3¢,4W
TRANSFORMER UT1A TRANSFORMER UT1B coNNEcT 10 sHuT-DowN ' " ' 1NLP1 1NRP1 1SLP1 1SRP1 1KP1 1KP2 1EMP1 702 cONNECT MASTER ELECTR|CAL ,, E-_ TRANSFORMER UTZ NEMA3R
P: UT||_|TY PR|MARY P= UT|L|TY PR|MARY BUTTON NEXT To METER M1A 355 SH55T <,_(2) SETS _ 4#350,1#1@_,3"0_ 4#3/0,1#60., SHUT_DOWN BUTTON \% 2000 5AF P= UT|L|TY PR|MARY
s; 120/205v s; 120/205v CONNECT TO SHUNT_TR|P 4#31#86 4\ SEE SHEET 50602 FoR coNTlNuATloN 00001'005§|0[\| 4#600’1/#50_, |j 2 c. :74#52/0:1#60_, 2000 310 L) s; 120/205v _1) 1000 020
BREAKERS 1N 53w502 =7_ , .. 3_1 2.,0_2> ,, ., _ ‘
355 355 515 0 j
1ST Fl_ooR 1ST FLOOR v
412 1 KchHEN KchHEN JOCKEY 4\` j15
_ _ coNNEcT MASTER ELECTRchL _ lTl-:M # 56 lTl-:M # 56A _ _ _ -
sHuT_DowN BuTToN (2) SETS - 4#600,1#1/00.,3-1/2”0. TvSS CONVEYOR BOOSTER ELEVATOR AC 1 MAU 1 AC 2 CONPTL§%FL>LER
BNLP1 c74#3/01,1¢60 574#3/01#60 574#3/01#60 574#3/01#60 SEE SHEET SEE SHEET D|SH MACH' HEATER' BNPP1 3#12'1#12@"
" " " " § 50602 F0R 50601 FoR _ _ ,. <7_4#4,1#4<; 4#3/0,1#50., 3/4"0._==
TVSS 2 C_ 2 C_ 2 C_ 2 C_ cONT|NUAT|ON CONT|NUAT|ON =7-(5) SETS 4#600,1#3/0@.,3 1/2 C. _,| 1/4,,0 2,,€_ /
_ _ " 4 3 0,1 60., 4 600,1 30., 4#1.1#66., 4#2.1#60., 4#2.1#60.. 4 600,1 30., 3#2 0.1#60.. 3#4,1#106., 3#1.1#66.,
mm UT|L|TY =r<z) SETS 4#600.1#1/0@..3 1/2 C. cr4#4,014c; n v # 2/,,0 # v # 5_1/#2,,0 mms oF 1_1/2"0_ 1_1/2"¢, 1_1/2"6_" # 3_1/#2"0 z"C, 1_1/4"¢. 1_1/2"¢. 01le 01le
PR|MARY PR|MARY L'M'TS OF SW'TC"'BOARD BSWBD‘ -1 1/4 C ' ' SW|TCHBOARD BSWBD2 ' JOCKEY PR|MARY PR|MARY
290A 3P B-ATs-702
c v 1200‘\ 3P 0 /_ @ FlRE PUMP
0 T 0 0 0 0 0 T T SPARE N E | E fN / 0 CONTROLLER
200 /3AF 200 /3AF 400 /3AF 200 /3AF 200 /3AF 200 /3AF 200 /3AF 100/3A1-' 100/3A1-' 200 /3AF 200 /3AF 200 /3AF 400 /3AF 200 /3AF 100/3AF 200 /3AF
o o o o 0 0 0 _/coNTRol_ wlRlNG/_
000 3AF 000 EAF 000 EAF SPACE SPACE ) 60 13 AT )200/3/11® )2§§A/F{3EAT@ )400/3AT ) 200/3AT© ) 200/3AT© ) 200/3AT ) 200/3AT. )100/3AT© )100/3AT 000 3AF 1200 3AF 200 3AF 600 EAF f 600 EAF 60 15 AT ® )125/3AT® )110/3AT@ 110/3AT® )400/3AT© )175/3/11© )90/3AT ® )125/3AT
SPD 9 500 3AT 9500 3AT 9500 3AT 60/3AF 9 SPD 9 500 3AT 91200 3AT 9 200 3AT 9600 3AT 9600 3AT ) 60/3AF (3) SETS ;
4#600,1#3 00.,
0>1 <§>1 <§>1 <§>1 <§> 1 0>1 <§>1 <§>1 @1 <§>1 @1 _1 1002 505
. . 500 AMPERE, 120/205 voLT, 3 PHASE, 4 wlRE, GROUND aus, 221< Alc . . 500 AMPERE, 120/205 voLT, 3 PHASE, 4 wlRE, cRouND Bus, 221< Alc
03 0.)
_0 C/T 2000 AMPERE, 120/205 vol_T, 3 PHASE, 4 wlRE, GROUND BuS, 100K Alc _3 C/T 2000 AMPERE, 120/205 vol_T, 3 PHASE, 4 wlRE, GRouND Bus, 1001< Alc D|ST PDA§EL F'RE PUMP
__) __ '
N N LlMlTs 0F Dlsmlaurlow PANEL BR0P1 N §5"0'\`]05,§1 B%\B)P N LlMlTs 0F DlsTRlaunoN PANEL BP0P1
LOWER
LOWER LEVEL G G G G l_EvEl_
c SEE SHEET ., (1) SET OF 4#600MCM,1#3(G)-4’C ,,
\ 150601 FOR 1\_(4) SETS 4#600’1#4/0 _ 3 1/2 C' lN coNcRETE ENcAvEMENT_`|_
\sEE sHEET 50602 FoR coNTlNuATloN 00NT|N0AT|0N v
_(5) SETS oF 4#6001/10~1,1#250~101/1(0)_4"0
1N coNcRETE ENcAvEMENT
t7-1#3/0_1”0
1#3/0-1;
Bull_DlNG sTl-:EL 1 "_1#5/0_1 C
wATER SEvacE 1 , TO MGE“ §
GROUND ROD 41_41;_
1 5_3 4»»@ . DlsTRlauTlow 015TR150T10N . DlsTRlauTlow DlsTRlauTlow
# / C/TS sEchoN sEchoN c/TS sEchoN sEchoN
§§§D§§§§M§§B§§°U~D » » » ~ ~ ~ ~ ~ » _\TO
. . . . . . . l . .
(REFER T0 ELECTRchL DETAlLs FoR GROUND|NG DETAlL) ,,
<7_1#3/0_1 c

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SW|TCHBOARD BSWBD1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SW|TCHBOARD BSWBDZ

 

ELECTR|CAL 0NE LlNE D|AGRAM 2

SCALE: N.T.S.

/

ll

 

 

121
m

 

 

f

I1

 

7-(2)-4"C TO PROPERTY LlNE
(REFER TO E1.00 FOR DETA|L)

UT|L|TY PAD-MOUNT XFMR

P: UT|L|TY PR|MARY
S: 277/480V

(REFER TO E8.05 FOR XFMR PAD DETA|L)

7_(8) SETS OF 4#600MCM,1#400MCM(G)_4”C
|N CONCRETE ENCAVEMENT

 

 

3000 AMPERE, 277/480 VOLT, 3 PHASE, 4 W|RE, GROUND BUS, 65K A|C

 

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L|M|TS OF SW|TCHBOARD SWBD1

Document 23-2

 

 

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_j
__)

 

 

 

 

 

 

 

 

BU|LD|NG STEEL l
WATER SERV|CE 1

 

GROUND ROD l

 

BU|LD|NG MA|N GROUND
503 BAR1 (M051)

(REFER TO E8.05 FOR GROUND|NG DETA|L)

l ®l ®l @l @ l © l © l ® l l ®l
6 3000 3AT 800 ) 1000 3AT >400 3AT )200 3AT >200 3AT )200 3AT >200 3AT )200 3AT )200 3AT )400 3AT
l 3000§34\1-' | l 1200 3AF l 400 3AF l 200 3AF l 200§3AF l 200 3AF l 200 3AF l 200 3AF l 200 3AF l 400§3AF |
@ 3
I I N
I l 0
<7- 4#3/0,1#60 <7- 4#3/0,1#60 =,- 4#3/0,1#60 <7- 4#3/0,1#60 <7- 4#3/0,1#60 <,- 4#3/0,1#60 =,- 4#500MCM,1#30 4#500M0M,1#30
_2”C _2"C _2”C _2"C _2"C _2”C _3”C y _3"C
1#3/0-1;0 v
1 > <7-1#5/0-1”€ AT31
° 400A 3P
N E BATTER cHARGER &
1 > /// / /// / /// / /// / /// / ////A (\ BLOCK HEATER (To RP152)
1 PP1 LPB1 LPBz LPE LPF PP2 H CONTROL wlRlNc; /
l ' ///// /// / /// / ///// /// / /// / ,,
,, c7_4#500MC'\/|.1#3G <=-3#10,1#100-3/4 C
1#6-3/4 0 (3)3 350MCM _5”0
<" # ;, <7-3#5,1#100 =7-3#5,1#100
1#2/0@-5 C -3/4”0 -3/4"0 ’T3’-75KvA 1\_4#3,1#50-1 1/4”C R5C5pT|ON
P:450v
l 0 0 0 0 0 0 0 0 0 0 l S:208/120V 5#51#86 1”C ///D/ v // TO EMP4
sHuNT-TRlP EE|_<ED SHUNT-TR|P EEI_<ED ’ _ EM P RAP
|ll....llllll.ll| C/B C/B ||€ l,lr //'
M ELl-:v. m ELl-:v. PROlel-: TAF>
coNTRol_l_l-:R coNTRoLLER t,_1,116-3,/4..0
<7-1 3 0_1”0 ’T1’-7501<vA -__- =7-3 2,1 50 » 1
# / `“=`J P=480V @ @ » w ~» 4#6,1#10@ #-1#1/4”C 400 w §$§155£(:(;§1<$;
S;205/120v 5#5/0.1#6-2-1/2 C _1»C ) 400 5AF
l ’ l , ‘
,, 5 WlNG E wlch ,_
1#35/0-1€ e, ELEVATOR ELEVATOR vFD ‘ 3#2'1#89 ,, m vFD NEMA3R
/ / (BY MFGR.) -1 1/4 C (BY MFGR.) G
DlMMER //A /// 1
RACK EMPZ EMP7 1 4_3/4”@
<,-4#600M0M,1#30 Y #
_4,,0 (BY oTHERS) ///A //// @
P-4A P-4B
\4001>1_1-:>< PUMPS _
/ 0NLY 0NE PUMP wn_l_
/ L|M|TS 0F PDP1 RuN AT A TlME.
To M052 1 _ _ _ _ 1 1 _ _ _ 1
0 FuTuRl-: woRK:PANl-:LBOARD EMP5 AND FEEDl-:R ARl-: PROlel-:D BY oTHl-:RS.
400A, 277/450 vol_T, 3 PH, 4 WlRl-:, wYE, GROUND BUS, 22K Alc PRoleI-: ovERCuRRl-:NT DEvlCl-: oNl_Y AT PANELBOARD EMDP.
.. ®+ 100;3AT ®+ 50¢3AT ®+ 50¢3AT ® SPAcl-: ® SPACE
" 1#1/0_1 C 1 |_»_| N > 100/3AF ) 100/3AF ) 100/3AF 1
suPPLY RETL)RN suPPLY RETuRN SuPPLY RETuRN
AHu-Q AHu-10 AHu-11
c7-(5)41116001/101\/1,11112501/101/\0
_4””C
=7_1#3/0_1”0
L|M|TS 0F svvchHBoARDz
T) 2000¢3AT
2000/3AF
2000A, 120/205 vol_T, 3 PH, 4 wlRl-:, wYE, GROUND Bus, 42K Alc
®+> 400 3AT ®+) 400 3AT @+> 400 3AT ®+) 500 3AT ®+) 200 3AT
|_¢»_| N 400/3AF 400/3AF l 400/3AF 500/3AF l 200/3AF
1_.._1 0
1 4#500MCM,1#30 1 4#500MCM,1#30 c7_4,115001/101/\,1,1130 (2)5#600McM,1#1/00 <7_5#3/0,1#60
-3 1/2"0 -3 1/2”0 -3 1/2"0 -4”c -2-1/2”0
D|MMER 200A COMPANY SwlTCH
RDP2 RDP5 RACK WlTl-l SEQUENT|AL lNTERLOCKS.
(BY OTHERS)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LTV

 

§ \ Pul_l_ BOX
(5) SETS 0F 3#12,

 

 

 

 

3#12N & 1#120. 1N
3/4”0.

D|MMER PANEL - DOVE
SYSTEMS D|MMERMASTER

2412-WM

3#3, 1#3/01\1., 1#50,
1-1/2”0.

 

 

 

 

 

(REFER TO STAGE LlGHTlNG

FOR DEAT|L.)

4#3/0,1#60_2”0
4#3,1#50-1 1/4"c

 

 

 

 

 

 

 

  
  
 
 

 

 

 

 

MA|NT. DEPT.
OFF|CE

 

 

 

 

 

 

 

 

 

 

 

277/480V, 3¢,4W

 

RAP

 

 

ELECTR|CAL ONE LlNE D|AGRAM - SERV|CE NO. 1

SCALE: N.T.S.

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/jz|_ 7 / STEEL COLUMN

DR|LL 3/8" HOLE |N FLANGE
& BOLT ON GROUND|NG LUG

l
GROUND|NG CONDUC`|'OR /

_J

@::'§§

 

 

 

 

 

 

 

___J

5__¥1
\ TO MA|N SERV|CE GROUND BUS

BU|LD|NG STEEL GROUND|NG DETA|L

SCALE: N.T.S.

@_UU

W
P

 

_L & TA

 

§ FLANC

3 3/5"110§

 

 

 

 

’ ©

 

 

 

 

 

 

§ AND B©LT

: … ////////§(lj`\\\\\GROUNDM

§-UN

200N00031§M;1C)FLAN0: ”@N

 

WAT§R MAWJ<STR__\TJD§ ©F M;!;

 

©\\
PW¥:FLANC

 

 

 

C C©NDUCT©R S_

 

 

 

 

 

 

 

 

 

 

 

 

 

§1NACRAM”!WN?§JUNG

 

 

 

 

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\k\\\\» 10 …00153

 

 

§RVK:

 

§ CR©UND BUS

MA|N WATER GR.UND|NG DETA|L

SCALE: N.T.S.

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3/4" EMT EMPTY CONDU|T STUB-UP
TO ABOV|§ ACC|§SS|BLE CE||_|NG

   
   

EMT F|`|'T|NGS
PER SPEC.

 

4"X4"X2 1/8" J-BOX.

S|NGLE GANG MUDR|NG, D|§PTH AS REQU|RED
FOR WALL TH|CKN|§SS, W|TH S|NGLE GANG
VERT|CAL MOUNT.

TYP. TELElDATA STUB-UP DETA|L

SCALE: N.TS.

@

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WALL CONSTRUCT|ON
/_

CLOS|§ N|PPLE, R|G|D STEEL {S|Zl§ FOR 50% MAX F||_L).

 

\|NSU|_ATED BUSH|NG.
F|RE BARR|ER CAULK

TYP| CA|_ WA|_L PEN|§TRAT| ON

 

NOT|§S:

1. NEATLY COR|§ ALL MASONRY AND B|_OCK WALLS.
2. R|G|DLY SUPPORT AL|_ RACEWAYS.
3. PROV|DE F|RE BARR|ER CAULK AT F|_OOR, CORR|DOR AND F|RE SEPARAT|ON WALLS.

TYP. WALL PENETRAT|ON DETA|L

SCALE: N.TS.

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C|_OS|§ N|PPL|§, R|G|D STEEL (S|Z|§ FOR 50% MAX F|LL).

f F|_OOR CONSTRUCT| ON

F|RE BARR|ER CAULK

  

 

 

|NSULATED BUSH|NG. J

TYP|CA|_ F|_OOR P|§N|§TRA`|'|ON

 

NOTES:

1. NEATLY CORE ALL MASONRY AND BLOCK WAL|_S.
2. R|G|DLY SUPPORT ALL RACEWAYS.
3. PROV|DE F|RE BARR|ER CAULK AT FLOOR, CORR|DOR AND F|RE SEPARAT|ON WAL|_S.

TYP. FLOOR PENETRAT|ON DETA|L

SCALE: N.TS.

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4" SQ.
1 1/2” DEEP BOX

AUD|O/V|SUAL
ASSEMBLY

F|_USH MTD. DEV|CE

BACKBOX

ADAPTER PLATE

AUD|O/V|SUAL
ASSEMBLY

SURFACE MTD. D|§V|C|§

AlV MOUNT|NG DETA|L

SCALE: N.T.S.

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e160f28

BEND OR OTH ER
OBSTRUCT|ON

 

 

ll

 

 

 

 

6-10 DUCT
EQU|VALENT D|AMETERS

I
->|

 

 

DO NOT |NSERT RUBBER

 

 

 

 

 

 

 

 

 

 

\ RETURN TUBE SLANT

CUT FACE OR|ENTED
DOWNSTREAM OF A|R FLOW

RETuRN
AlR |NLET
_>
_>
|
§ '
_» 1 l
|
6-10 DucT l |<-
‘_ EQulvALl-:NT D|AMETERS _*
DUCT HOUS|NG PLACEMENT
lel-:RT RuBBER Pl_ue THls
TuBE SuPPoRT HOLE oNl_Y FoR END OF 'N'-ET TUBE
DucTs MoRl-: THAN 3 FT wlDEj`_/ /
AlR Fl_ow f
DlREchoN /_ Pl_uG
_>
|NLET TuBE HoLES _»
FAcl-: uPsTRl-:AM oF \
AlR FLow :=-
(FoR DucT wlDTHs) (FoR DucT wlDTHs)
36” To 95" 5” To 36"
NOTE: |NLET TUBE OR|ENTATlON

1. PROV|DE DUCT SMOKE DETECTORS FOR EACH MA|N SUPPLY & RETURN BRANCH DUCTS.
SUPPLY S|DE DETECTORS SHALL BE LOCATED ON DOWNSTREAM S|DE OF F|LTERS. ALL
DETECTOR LOCAT|ON SHALL BE M|N|MUM 6 DUCT W|DTHS AWAY FROM ANY |NLET,TURN,

OR ANY OTHER TURBULENCE CAUS|NG OBSTRUCT|ON.

2. PROV|DE REMOTE TEST SW|TCH 8c REMOTE |ND|CATOR FOR EACH DUCT SMOKE DETECTOR.
REMOTE |ND|CATOR SHALL BE MOUNTED |N A CLEARLY V|S|BLE LOCAT|ON, AND SHALL BE
BE REAL|LY ACCESS|BLE FOR MA|NTENANCE AND TEST|NG. VER|FY EXACT LOCAT|ON |N F|ELD.

DUCT SMOKE MOUNT|NG DETA|L

SCALE: N.T.S.

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WARN|NG TAPE
CONT|NUOUS THRU-OUT
LENGTH OF TRENCH

 

 

 

GRADE
_/_"_”'_`_`\___ 4._._\# / \!____7¢____`________---_ *__r_
l 319 |
\ 1
- _________ -1
1 1
\
\
36” Mw1
cOMPAcTED _-»
BACKHLL
RED DYE 0N TOP '___7:
3”
7 1/2” 19"
cONCRETE '7 <::> <::> <::>
ENCASEMENT
_____ 12____1_____..___ §§
1 1 1531 '
wASHED cRuSHED ‘ l 4” Mw§
uMESTONE(cA-7)-_____1L~ 1
0R GRAVEL \`"m____””____"“________ _____ 20__72
1 27” 1

DUCT BANK DETA|L

SCALE: NTS

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CLAMP TO JO|ST

 

 

 

 

 

 

 

 

   
  

 

 

 

 

 

 

 

 

 

uNl-smuT
iJD |]|!l]`|l |I|IU_|I` |l_||]|]l]_{l_|l|] |Il-|I|-|l lllx:“:l__|"`1
0050 & PLU<; 05
/_PENDANT MTD. AS
¢'r REQLHRED.
51_00. JolsT
0R muss
BALLAST
cHAlN 1 , 1
__[
ALlGN wlTH 50TT0M sAFETY GLASS an
0F 30151 wlRE suARD AS
REoulRED.

GYM. LlGHTlNG MOUNT|NG DETAIL

SCALE: NTS

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Exhibit B

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ABBREV|AT|ONS ELECTR|CAL SYMBOL'S LlST

 

 

 

 

 

               
 

    
 
 

  
 
 

                 
  
 
  
  
   

        

       

 

             

    
  

          

 

     

                

                         

 

                 

   

 

 

 

 

       

       

              

       
  
   

   

 

       
 

           

            
      

   
 
  
 
 

   
 

 

       

              

 

   

             

     

         

 

   

     

     

               
  

 

  
 
  

 

 

 

            

         
 
 
    
 
 
 

           

            
 

 

     

 

 

 

       

             

 

   

 

 

   

     

       

 

     

           

            

     

 

     

       

 

       
       

     
 

 

           

 

 

 

5 HEC|L DESCR|}’T|CN BVI|SDL DS:ER 110N vaBoL DES¢R|FT|DN svu|s°|' DESGR|VVD|| EVMBDL D S¢I'IIVT|W
' came wm noon icr:xuuc wm noon c:n.rm: wm F\.oow E
A 5 7 LUM|NARIB PO\NER EQU|PMENY l DEV|CEE |NYERCUM. CLDCK. L SDL|ND S7Vl'\'El|
. z siu-iii own ' n`vixi'sm`iv 'rii7ivuvié nn z"¢ ur.~iiii'e iixiiiii'z whim/ic ` " ~Aiii»i wm iiiiiiiii isii i» msi-»-¢:& 'm'=~ .iii; i'»'u.i~i. ` ` " ' ' _ri'/éii`»`i-.i< mi`i~ ciacii. ` `
ii i:»m mut/nmi run m sum nrvii:iin wumic..mr,~ii»i 7 umw no av:cvi o,owqu_ usi 7 7 7
w mm ri~»wm rim si wm rm vii/sign ri's`ini s`mi<ni
wu iiii ~i~ininc v~ii sm smu.r- »iu. unum mm w _ mix _vvr.ii;,iv»g;g77r_7ii7o1;
.¢ wm iivmwvi~n mm wsi miz_ mz. si~iu_v»<iioii i-iJ‘A¢i~ miami ur»iii~i: iii»isr‘zii o":‘vici`. ii»/oim/smi- vus»¢iiivn» comm sinii~ ,_ »i/='i:r.i mmi mm mm
ii wm iii» ss simms mci seem mm mmi wm is - 7
us mmi-inc viu~vn wm w suii:»< ~ swriéuol:s¢s~i i,iqiiin:v ¢ix'iuii: vv¢¢ m univ mm rvv mm nmi-msu llvs`)»oir:/lvovsu~r) o nonunion am
ucc Au(lLAN lull ¢Ar¢ SIBD SleD¢WAm 7 7 7 -r'\J;(:Ds _xAurS/_VVS[_/F|§.[S/[N§\D 7 _ _ 7_ 7 7 _ _7 _ _ _ 7
s .`, sol\.|)°"€ CEN| 51114' F|KIUII ll l?¢l Flll\|f|( mm 7:AE4[V>€ dlDlGR SUIV{R M(uA S|Z[ .AS ND|[D ® ,® LDCM. mm §\‘S|f\l SKAKIE.
.. riiiiiii; mi;,7_ z. :7iii¢iiiv7 _vuwii;~ 7 . 1
m iii .x ii v mimsiii adm mm vmivii: m si':'é umw mm movie cmiic~ umiiic iowa swivn' viii mm usw~~`zu sii' .i»imii v»iv.
001“7.~ annum vm inmon 7 lmvs/n:sz/P\us/wwns 7
M BAKld INIV{ !NAIA(L 'E lll[ mm NAE¢ \Jod H!NI{ rv¢[ il UGUNE VVKV\.RE SB'D\|LF, \®_ M\?M mv- ~l»l- bull IHN¢ m .Alv\_r(l
iiii mm i~¢iiiiii viii v¢» Miiiiuiii ¢ii~iiwi >i~ii . _ 7 7 _ 7 7 7 7 __ _ . _ _ 7 7 7 77 77 7 7 7 _ 7 77 7 7
c is ..i¢~ 7iiiiL viii mm mg m mm iixiiiiii wmc o memo ~iii minn mg mm wis -»i.i m m
iii i¢\p~m( i¢iiiii»ii m 7 7 7 7 77 _ 7i/_i c, rim ,ii~¢_ _i_ 7_ sys c
c mr w 1r ’ mr 'm&i»;iii ¢.‘¢,¢¢'m »'nx~v »ic~ ~/ wien w~- w w minimum w im miami -wi~' br minn § m 901 =~~= wm m rm room lms 1 f ~
cm mix \uzvvsiiw ;i;vrii vviii i~iii.i wm iii minimum wi scm vos~ w m neuon m vui~ sici< o~ 7/ :/ c mm ms m m mm s
c/ii ml:uv nunn rvv mini run mv n uzuviv. § m mm amc mi nix m nunn
cch emsm unq.iv muso¢ n . .. .. . . . . . . 1.7 7, , . , .. “'" 5‘"~*'° 5“!?.'.‘..$5"‘('
tl¥ ¢llwl "~o' now ?m' N|M VSVA\ W|\.[V \IVN |' |lIB
mumlf § lp |0 ACU[WBL[
°“ °“"" § .Z.'°i“fif?"i&" m m ma m i. m ii mm mmi ' i....m.g m .;.o ..i~“ iii ii wm ~ ' m “"é’*'=‘ "'“ '““ """° °°"'°"‘"‘ “*°‘ m "
a iii naming iiiwmm, ii¢ .-"‘s°‘~i_¢»~¢ w~i.q mi iii=;i ~_ iir7~ii i-_. ii m- m.q 7 m _ 7 7 _ _*f"=“°“ ’“‘ ""*‘ “"_f/°"_* ="""*°' °'
wm uniz-»oiz, nmu-win ii~ii wm mm iii~ '~ ~,, m“m_ mm w~m.m mn.. 7 . . ,,
orsv noul\z->oir, sl~Qiz-vi¢w»i m inv u~iini:miiz 7 7 77 7 7 77 7 ,,, ,. .. . __ , . ma . . .. '“m°. 7“. mc"°~ ..m.. ., ,
is oiii wi i»~iz~~ii»ii¢il mm sui-ii iiwi~i= mm mm s'iim< sur i's i»ii>i¢iii'£i' :u'iiriii'~i mild mm
v . 7 0
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[BN lLEENE IASENDMD >(A|[R VA vm!»AvP[R[S .'“II\IAL MILGAD S\"\:N 7 4 ` 7
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Exhibit C

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Certiiicate of Reglstration

This Certificate issued under the seal of the Copyright
Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has
been made a part of the Copyright Oflice records.

w @aza¢,

Registe of Copyrights, United States of America

llllllll ' VAu 960-761

 

Registration Number:

 

 

 

 

* *
Effective date of
registrations
May 22, 2008
Title
Title of Work: KS+A E|ectrical Standards Drawings
Nature of Work: Technical Drawings and Text
Completion/ Pub|ication
year of Completion: 2008
Author _
' l Author: Kluber Skahan + Associates, lnc.
Author Created: Technical drawing, Text
Work made for hire: Yes
Citizen of: United States Domiciled in: United States
Anonymous: No Pseudonymous: No
Copyright claimant

Copyright Claim ant: K|uber Skahan + Associates, Inc.
901 Batavia Avenue, Suite 30|, Batavia, IL 605|0

 

Limitation of copyright claim

Material excluded from this claim: The Previous Registration identified [below] is a derivative and includes
some of the works contained in the present work. No claim is made to any
preexisting material owned by third parties or information that is in the
public domain.

Previously registered: Yes

Previous registration and year: VAu 739-704 2007
Basis of current registration: This is a changed version of the work.

New material included in ciaim: Original work of authorship of specifications, text, and technical drawings.

Page l of 2

Case 1:08-cv-01529 Document 23-2 ' Filed 06/03/2008 P_age 23 of 28

Certification

 

Name: Michael T. Kluber, authorized agent of Kluber Skahan +
Associates, lne.

Date: May 21, 2008

 

Copyright Oft'ice notes: Regarding year of oompletion: application states " l992-2008."

Page 2 of 2

Case 1 :08-cv-01529 Document 23-2
IPN#= \I||
,l?
**
Registratioo #: VAU000960761

service Request #: 1-64023219

Norvell iP LLC
.loseph T. Kucala, .lr.
1776 Ash Street
Northtield, lL 60093

Filed 06/03/2008 Page 24 of 28

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Exhi|oit D

Case 1:08-cv-01529 Document 23-2 Filed 06/03/2008 Page 26 of 28
Certificate of Registration

This Certificate issued under the seal of the Copyright
Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has
been made a part of the Copyright OfIice records.

MQUA

Registe of Copyrights, United States of America

mill v VAu 960-756

 

Registration Number:

 

 

 

 

-k -k
Effective date of
registration:
May 22, 2008
Tit|e
Title of Work: KS+A Symbols and Abbreviations
Nature of Work: Technical Drawing of Symbols and Text
Completion/ Publication
Year or Completion: 2008
Author
l Author: K|uber Skahan +Associates, Inc.
Author Created: Technical drawing, Text
Work made for hire: Yes
Citizen of: United States Domiciled in: United States
Anonymous: No Pseudonymous: No
Copyright claimant

Copyright Claimant: K|uber Skahan + Associates, Inc.
901 Batavia Avenue, Suite 30l , Batavia, lL 60510

 

Limitation of copyright claim

Material excluded from this claim: The Previous Registration identified [below] is a derivative and includes
some of the works contained in the present work. No claim is made to any
preexisting material owned by third parties or information that is in the

_ public domain.

Previously registered: Yes

Previous registration and year: VAu 739-704 2007
Basis of current registration: This is a changed version of the work.

New material included in claim: Compi|ation of original work of authorship including text and symbols.

Page l of 2

Case 1:08-cv-01529 Document 23-2 Filed 06/03/2008 Page 27 of 28

Certitication

 

Name: Michael T. K|uber, authorized agent of K|uber Skahan +
Associates, lnc.

Date: May 21, 2008

 

Copyright Ofiice notes: Regarding year of completion: application states " 1992-2008."

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iii

Registration #: VAU000960756

Service Request #: 1-64028192

Norve|l IP LLC
Joseph Kucala, Jr.
1776 Ash Street
Northfield, IL 60093

